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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.

  RENZO BARBERI,

                  Plaintiff,

                  vs.

  PZZA GROUP, LLC, a Florida Limited
  Liability Company d/b/a PAPA JOHNS
  PIZZA 485 and BELL INVESTMENT
  GROUP, INC., a Florida Profit Corporation,

            Defendants.
  _______________________________/

                                           COMPLAINT

  Plaintiff RENZO BARBERI (hereinafter “Plaintiff”), through the undersigned
  counsel, hereby files this complaint and sues PZZA GROUP, LLC d/b/a PAPA JOHNS
  PIZZA     485     (“PZZA     GROUP”),      and       BELL   INVESTMENT      GROUP,       INC.,
  (“INVESTMENT”) (hereinafter, collectively referred to as “Defendants”), for
  declaratory and injunctive relief; for discrimination based on disability; and for
  the resultant attorney's fees, expenses, and costs (including, but not limited to,
  court   costs    and   expert   fees),    pursuant     to   42   U.S.C.   §12181   et.   seq.,
  ("AMERICANS WITH DISABILITIES ACT OF 1990," or "ADA") and alleges:


  JURISDICTION
  1.      This Court is vested with original jurisdiction over this action pursuant to
  28 U.S.C. §1331 and §1343 for Plaintiff’s claims arising under Title 42 U.S.C.
  §12181 et. seq., based on Defendants’ violations of Title III of the Americans
  with Disabilities Act of 1990, (hereinafter referred to as the "ADA"). See also
  28 U.S.C. §2201 and §2202.


  VENUE

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  2.     The venue of all events giving rise to this lawsuit is located in Broward
  County, Florida. Pursuant to 28 U.S.C. §1391(B) and rule 3.1 of Local Rules of
  the United States District Court for the Southern District of Florida, this is the
  designated court for this suit.


  PARTIES
  3.    Plaintiff, RENZO BARBERI, is a resident of the State of Florida. At the
  time of Plaintiff’s visit to Papa John’s Pizza (“Subject Facility”), Plaintiff suffered
  from a “qualified disability” under the ADA, and required the use of a
  wheelchair for mobility. Specifically, Plaintiff suffers from paraplegia due to a
  severed T4 and T5, and is therefore confined to his wheelchair. The Plaintiff
  personally visited Papa John’s Pizza, but was denied full and equal access, and full
  and equal enjoyment of the facilities, services, goods, and amenities within Papa
  John’s Pizza, which is the subject of this lawsuit. The Subject Facility is a
  restaurant and Plaintiff wanted to purchase food and beverages but was unable
  to due to the discriminatory barriers enumerated in Paragraph 15 of this
  Complaint.


  4.    In the alternative, Plaintiff, RENZO BARBERI, is an advocate of the
  rights of similarly situated disabled persons and is a “tester” for the purpose of
  asserting his civil rights and monitoring, ensuring and determining whether
  places of public accommodation are in compliance with the ADA.


  5.    Defendants, PZZA GROUP and INVESTMENT are authorized to conduct
  business and are in fact conducting business within the State of Florida. The
  Subject Facility is located at 800 S.E. 17th Street, Fort Lauderdale, FL 33316. Upon
  information and belief, PZZA GROUP is the lessee and/or operator of the Real
  Property and therefore held accountable of the violations of the ADA in the
  Subject Facility which is the matter of this suit. Upon information and belief,
  INVESTMENT is the owner and lessor of the Real Property where the Subject
  Facility is located and therefore held accountable for the violations of the ADA

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  in the Subject Facility which is the matter of this suit.


  CLAIMS: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT
  6.    Plaintiff adopts and re-alleges the allegations stated in paragraphs 1
  through 5 of this complaint, as are further explained herein.


  7.    On July 26, 1990, Congress enacted the Americans with Disabilities Act
  ("ADA"), 42 U.S.C. §12101 et. seq. Commercial enterprises were provided one
  and a half years from enactment of the statute to implement its requirements.
  The effective date of Title III of the ADA was January 26, 1992, or January 26,
  1993 if Defendants had ten (10) or fewer employees and gross receipts of
  $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).


  8.    As stated in 42 U.S.C. §12101(a) (1)-(3), (5) and (9), Congress found,
  among other things, that:

        i. some 43,000,000 Americans have one or more physical or mental
          disability, and this number shall increase as the population continues to
          grow and age;

        ii. historically, society has tended to isolate and segregate individuals
          with disabilities and, despite some improvements, such forms of
          discrimination against disabled individuals continue to be a pervasive
          social problem, requiring serious attention;

        iii. discrimination against disabled individuals persists in such critical
          areas as employment, housing, public accommodations, transportation,
          communication, recreation, institutionalization, health services, voting
          and access to public services and public facilities;

        iv.    individuals   with    disabilities   continually     suffer  forms  of
          discrimination,    including:    outright     intentional    exclusion; the
          discriminatory     effects    of     architectural,    transportation,  and
          communication barriers; failure to make modifications to existing
          facilities and practices; exclusionary qualification standards and
          criteria; segregation, and regulation to lesser services, programs,
          benefits, or other opportunities; and,

        v. the continuing existence of unfair and unnecessary discrimination and

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              prejudice denies people with disabilities the opportunity to compete on
              an equal basis and to pursue those opportunities for which this country
              is justifiably famous and costs the United States billions of dollars in
              unnecessary expenses resulting from dependency and non-productivity.

  9.      As stated in 42 U.S.C. §12101(b)(1)(2) and (4), Congress explicitly stated
  that the purpose of the ADA was to:

          i. provide a clear and comprehensive national mandate for the elimination
            of discrimination against individuals with disabilities;

          ii. provide clear, strong, consistent, enforceable standards addressing
            discrimination against individuals with disabilities; and,

          iii. invoke the sweep of congressional authority, including the power to
            enforce the fourteenth amendment and to regulate commerce, in order to
            address the major areas of discrimination faced on a daily basis by
            people with disabilities.

  10.     Pursuant to 42 U.S.C. §12181(7), and 28 CFR §36.104, Title III, no
  individual may be discriminated against on the basis of disability with regards
  to    the    full   and   equal   enjoyment   of   the   goods,   services,   facilities,   or
  accommodations of any place of public accommodation by any person who
  owns, leases (or leases to), or operates a place of public accommodation. Papa
  John’s Pizza is a place of public accommodation by the fact it is an establishment
  that provides goods/services to the general public, and therefore, must comply
  with the ADA. The Subject Facility is open to the public, its operations affect
  commerce, and it is a restaurant. See 42 U.S.C. Sec. 12181 (7) and 28 C.F.R.
  36.104.      Therefore, the Subject Facility is a public accommodation that must
  comply with the ADA.


  11.     The Defendants have discriminated, and continue to discriminate against
  the Plaintiff, and others who are similarly situated, by denying access to, and
  full and equal enjoyment of goods, services, facilities, privileges, advantages
  and/or accommodations at Papa John’s Pizza located at 800 S.E. 17th Street, Fort
  Lauderdale, FL 33316, as prohibited by 42 U.S.C. §12182, and 42 U.S.C. §12101 et.
  seq.; and by failing to remove architectural barriers pursuant to 42 U.S.C.

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  §12182(b)(2)(A)(iv).


  12.   Plaintiff has visited the Subject Facility, and has been denied full, safe,
  and equal access to the facility and therefore suffered an injury in fact.


  13.   Plaintiff shall suffer a future injury as Plaintiff intends to return and
  enjoy the goods and/or services at the Subject Facility within the next six
  months. The Subject Facility is in close proximity to Plaintiff’s residence and is
  in an area frequently travelled by Plaintiff. Furthermore, Plaintiff will also
  return to monitor compliance with the ADA. However, Plaintiff is precluded
  from doing so by the Defendants' failure and refusal to provide people with
  disabilities with full and equal access to their facility. Therefore, Plaintiff
  continues to suffer from discrimination and injury due to the architectural
  barriers, which are in violation of the ADA.


  14.   Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the
  Department of Justice, Office of the Attorney General, promulgated Federal
  Regulations to implement the requirements of the ADA. The ADA Accessibility
  guidelines (hereinafter referred to as “ADAAG”), 28 C.F.R. Part 36, may cause
  violators to obtain civil penalties of up to $55,000 for the first violation and
  $110,000 for any subsequent violation.


  15.   The Defendants are in violation of 42 U.S.C. §12181 et. seq., and 28

  C.F.R. 36.302 et. seq., and are discriminating against the Plaintiff with the

  following specific violations which Plaintiff personally encountered and/or has

  knowledge of:

           a) The customer parking facility of the pizza restaurant does not provide a compliant

              accessible parking space. 2010 ADA Standards 502.1




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           b) The parking facility has seven (7) marked standard spaces and zero (0) accessible

              parking spaces located on the east side of property. There is one (1) non-

              compliant accessible parking space located on the south side of property. 2010

              ADA Standards 208.2

           c) The parking facility does not have the minimum number of compliant accessible

              parking spaces required. One (1) accessible parking space with adjacent access

              aisle is required. 2010 ADA Standards 208.2

           d) The non-compliant accessible parking space located on the south side of the

              building has mismarked and faded identification striping. Accessible parking

              spaces must be striped in a manner that is consistent with the standards of FDOT

              for other spaces and prominently outlined with blue paint, and must be repainted

              when necessary, to be clearly distinguishable as a parking space designated for

              persons who have disabilities. 2010 ADA Standards 502.6.1

           e) The access aisle striping is faded. The access aisle must be striped diagonally to

              designate it as a no-parking zone. 2010 ADA Standard 502.3.3

           f) At time of inspection there was a dumpster positioned in the accessible parking

              space. Designated accessible spaces must be designed and marked for the

              exclusive use of those individuals who have a severe physical disability and have

              permanent or temporary mobility problems that substantially impair their ability

              to ambulate and who have been issued either an accessible parking permit or

              license plate. 2010 ADA Standards 208.3.1, 502.3

           g) The accessible parking space sign is obscured by tree foliage. It is not visible

              from the parking lot. Each accessible parking space must be posted with a



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              permanent above-grade sign of a color and design approved by the Department of

              Transportation, which is placed on or at least 60 inches above the finished ground

              surface measured to the bottom of the sign and which bears the international

              symbol of accessibility and the caption “PARKING BY ACCESSIBLE PERMIT

              ONLY” and must indicate the penalty for illegal use of the space. 2010 ADA

              Standards 502.6

           h) The accessible parking space is located in the south parking lot, the furthest space

              from the main entrance. The main restaurant entrance door is located northeast

              corner of building across from the east parking lot. Accessible parking spaces that

              serve a particular building or facility must be located on the shortest accessible

              route from parking to the accessible main entrance. 2010 ADA Standards 208.3.1

           i) The accessible route markings are faded. Accessible routes must connect parking

              spaces to accessible entrances. In parking facilities where the accessible route

              must cross vehicular traffic lanes, marked crossings enhance pedestrian safety,

              particularly for people using wheelchairs and other mobility aids. 2010 ADA

              Standards 502.3

           j) The marked accessible route is too steep. The running slope of walking surfaces

              must not be steeper than 1:20. The cross slope of walking surfaces must not be

              steeper than 1:48. 2010 ADA Standards 403.3

           k) The parking facility does not provide compliant directional and informational

              signage to a compliant accessible parking space. 2010 ADA Standards 216.5




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           l) There is no compliant access aisle attached to an accessible route serving any

               existing parking space which would allow safe entrance or exit of vehicle for

               accessible persons requiring mobility devices. 2010 ADA Standards 502.2

           m) There is currently no existing accessible route to help persons with disabilities

               safely maneuver through the parking facilities. 2010 ADA Standards 502.3

           n) Existing facility does not provide a compliant accessible route to the main

               entrance from any site arrival point. 2010 ADA Standards 206.2, 208, 401.1

           o) The facility does not provide compliant directional and informational signage to

               an accessible route which would lead to an accessible entrance. Where not all

               entrances comply, compliant entrances must be identified by the International

               Symbol of Accessibility. Directional signs that indicate the location of the nearest

               compliant entrance must be provided at entrances that do not comply. 2010 ADA

               Standards 216.6

  16.   Upon information and belief there are other current violations of the ADA
  at Papa John’s Pizza. Only upon full inspection can all violations be identified.
  Accordingly, a complete list of violations will require an on-site inspection by
  Plaintiff’s representatives pursuant to Rule 34b of the Federal Rules of Civil
  Procedure.


  17.   Upon information and belief, Plaintiff alleges that removal of the
  discriminatory barriers and violations is readily achievable and technically
  feasible. To date, the readily achievable barriers and other violations of the
  ADA still exist and have not been remedied or altered in such a way as to
  effectuate compliance with the provisions of the ADA.


  18.   Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R. §36.304,
  the Defendants were required to make the establishment a place of public

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  accommodation, accessible to persons with disabilities by January 28, 1992. As
  of this date the Defendants have failed to comply with this mandate.


  19.   The Plaintiff has been obligated to retain the undersigned counsel for the
  filing and prosecution of this action. Plaintiff is entitled to have its reasonable
  attorney's fees, costs and expenses paid by the Defendants, pursuant to 42
  U.S.C. §12205.


  20.   Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to
  grant Plaintiff injunctive relief, including an order to alter the subject facilities
  to make them readily accessible and useable by individuals with disabilities to
  the extent required by the ADA, and closing the Subject Facility until the
  requisite modifications are completed.


  REQUEST FOR RELIEF
  WHEREFORE, the Plaintiff demands judgment against the Defendants and
  requests the following injunctive and declaratory relief:


  21. That this Honorable Court declares that the Subject Facility owned, operated
  and/or controlled by the Defendants is in violation of the ADA;


  22.   That this Honorable Court enter an Order requiring Defendants to alter the
  Subject Facility to make it accessible to and usable by individuals with
  disabilities to the full extent required by Title III of the ADA;


  23.   That this Honorable Court enter an Order directing the Defendants to
  evaluate and neutralize their policies, practices and procedures toward persons
  with disabilities, for such reasonable time so as to allow the Defendants to
  undertake and complete corrective procedures to the Subject Facility;


  24.   That this Honorable Court award reasonable attorney's fees, all costs

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   (including, but not limited to court costs and expert fees) and other expenses of
   suit, to the Plaintiff; and


   25.   That this Honorable Court award such other and further relief as it deems
   necessary, just and proper.




   Dated this February 13, 2020.

   Respectfully submitted by:

   Ronald E. Stern
   Ronald E. Stern, Esq.
   Florida Bar No. 10089
   THE ADVOCACY LAW FIRM, P.A.
   1250 East Hallandale Beach Boulevard, Suite 503
   Hallandale Beach, Florida 33009
   Telephone: (954) 639-7016
   Facsimile: (954) 639-7198
   Email: ronsternlaw@gmail.com
   Attorney for Plaintiff, RENZO BARBERI




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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                                          CASE NO.

   RENZO BARBERI,

                Plaintiff,

                vs.

   PZZA GROUP, LLC, a Florida Limited
   Liability Company d/b/a PAPA JOHNS
   PIZZA 485 and BELL INVESTMENT
   GROUP, INC., a Florida Profit Corporation,

             Defendants.
   _______________________________/

                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 13, 2020, I electronically filed the
   Complaint along with a Summons for each Defendant with the Clerk of Court
   using CM/ECF. I also certify that the aforementioned documents are being
   served on all counsel of record, corporations, or pro se parties identified on the
   attached Service List in the manner specified via Service of Process by an
   authorized Process Server, and that all future pleadings, motions and documents
   will be served either via transmission of Notices of Electronic Filing generated
   by CM/ECF or Via U.S. Mail for those counsel or parties who are not authorized
   to receive electronically Notices of Electronic Filing.

   By: Ronald E. Stern
   Ronald E. Stern, Esq.
   Florida Bar No.: 10089
   THE ADVOCACY LAW FIRM, P.A.
   1250 East Hallandale Beach Boulevard, Suite 503
   Hallandale Beach, Florida 33009
   Telephone: (954) 639-7016
   Facsimile: (954) 639-7198
   Email: ronsternlaw@gmail.com
   Attorney for Plaintiff RENZO BARBERI




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                                 SERVICE LIST:

     RENZO BARBERI, Plaintiff, vs. PZZA GROUP, LLC, a Florida Limited Liability
   Company d/b/a PAPA JOHNS PIZZA 485 and BELL INVESTMENT GROUP, INC., a Florida
                                  Profit Corporation

              United States District Court Southern District Of Florida

                                     CASE NO.


   PZZA GROUP, LLC d/b/a PAPA JOHNS PIZZA 485

   REGISTERED AGENT:

   WARMAN, RICARDO
   7695 SW 104TH STREET
   SUITE 100
   PINECREST, FL 33156

   VIA PROCESS SERVER


   BELL INVESTMENT GROUP, INC.

   REGISTERED AGENT:

   BELL, RICHARD
   2450 HOLLYWOOD BLVD
   SUITE 206
   HOLLYWOOD, FL 33020

   VIA PROCESS SERVER




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